      Case 1:21-cv-01160-JHR-SMV Document 6 Filed 03/11/22 Page 1 of 6       F'ILED@ ;';
                                                                   UNITED STATES DISTRICT COURT
                                                                    ALBUQUERQUE, NEW MEXICO
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                                 UNITED STATES DISTRICT COURT       S.       MAR   1LZIZZ    .g-t?


                                    DISTRICT OF NEW MEXICO            M{TCHELL R. ELFERS
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DOUGLAS MUHRAY SANDERS,                        No. 1:21-CV-01 1 60-JHR-SMV
                io
                ,,t 'laintiff,

                 ;

      v.        1,


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SANTA FE GOLb CORPORATION, A                   Jury   Trial: Yes
Delaware corporation; and MINERAL
ACQUISITIONS; LLC, a New Mexico
limited liability cqmpany,
                ln
                ,riefendants.
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                      ORDER FOR SERVICE OF NOTICE AND-IA'AIVEE



Comes now, Pla,intiff, DOUGLAS MURRAY SANDERS ("Sanders") moves the court to
                 ..


SERVE Debtorsi Defendants as they continue to avoid service of prbcess and refuse all
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certified mail. Tliey know of this case and have decided not to respond. Please
                I
                i
proceed as detailed in Honorable Stephan M. Vidmar's memorandum filed

December 2021': (See Exhibit A/ refusal from defendants)



Respectfully sub,mitted this March 9,2022
                 I
"Without prejudiqe UCCl -308'



Douglas Murray iSanders, Pro Se

120 S. Houghtor' Rd. Ste. 138-257

Tucson, Arizona',,857 48
       Case 1:21-cv-01160-JHR-SMV Document 6 Filed 03/11/22 Page 2 of 6




                                    CERTIFICATE OF SERVICE

I hereby certify thirt on the 9th day of March Two Thousand Twenty-Two (2022),the foregoing
document was seired on the parties listed via U.S. Mail in accordance with the laws of the State
                  t,

of Arizona and Ne-w
                 t
                    Mexico, on this day.




"Without Prejudicg UCC l-308" Douglas Murray Sanders

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Bv denosit U.S. Nlail as reouired to:
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                      I
MARC M. LOWF Y,            A   KNOWN ATTORNEY FOR DEFENDANTS
                  :


500 4th Street NV/, Suite 400
                  t
Albuquerque, Nev, Mexico 87102

                  j




SANTA FE GOLL) CORPORATION
                  .

3544 Rio Grande irtva.         NW
                  l

Albuquerque,   NM 87107


And               I



Mineral Acquisitions, LLC.

3544 Rio Grande   lllvd., NW
                  i
Albuquerqu",Nq            87107
     Case 1:21-cv-01160-JHR-SMV Document 6 Filed 03/11/22 Page 3 of 6



Exhibit   A (\L/a iver/ Service Refusal)
Case 1:21-cv-01160-JHR-SMV Document 6 Filed 03/11/22 Page 4 of 6




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